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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00257-DOC-JDE                                       Date: March 29, 2023

 Title: LDR INTERNATIONAL LIMITED V. SARA JAQUELINE KING ET AL.
 PRESENT:
                     THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                     Not Present
               Courtroom Clerk                                  Court Reporter

        ATTORNEYS PRESENT FOR                           ATTORNEYS PRESENT FOR
              PLAINTIFF:                                     DEFENDANT:
                 None Present                                    None Present


        PROCEEDINGS (IN CHAMBERS): ORDER STRIKING DOCUMENTS
                                   FROM THE RECORD

         The documents listed below were improperly filed because the named individual
 is not a party to this action. IT IS HEREBY ORDERED that the following documents
 shall be stricken from the record and shall not be considered by the Court:

            • Dkt. 15: Defendant King Family Lending LLC’s “Answer, Cross Third-
              Party Complaint against Kamran Abbas-Vahid”; and

            • Dkt. 16: Defendants Sara Jacqueline King and King Family Lending’s
              “Crossclaim against Cross-Defendant Kamran Abbas-Vahid.”

         Pursuant to Federal Rule of Civil Procedure 14, a defendant “may, as third-party
 plaintiff, serve a summons and complaint on a nonparty who is or may be liable to it for
 all or part of the claim against it.” Fed. R. Civ. P. 14(a)(1). It is the responsibility of the
 third-party plaintiff to serve the summons and complaint on the third-party defendant and
 on the first-party plaintiff.

        Accordingly, Defendants are ordered to re-file any of the following documents
 separately: (1) Answer to Plaintiff’s Complaint; (2) any third-party complaint. IT IS
 FURTHER ORDERED that the third-party complaint shall clearly state the basis for this
 court’s jurisdiction over a third-party defendant. Defendants shall file the corrected
 documents by 12 p.m. PST on April 3, 2023.

        The Clerk shall serve this minute order on the parties.
                                                                    Initials of Deputy Clerk: kdu
  MINUTES FORM 11
  CIVIL-GEN
